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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA
                                Criminal No. 19-CR- 1 04(3) (JNE/TNL)

    TINITED STATES OF AMERICA.                            )
                                                          )
                            Plaintiff,                    )     PLEA AGREEMENT AND
                                                          )     SENTENCING STIPULATIONS
           v.                                             )
                                                          )
    MASON PAUL STUHLDREHE&                                )
                                                          )
                            Defendant.                    )

           The United States of America and Mason Paul Stuhldreher ("Defendant") agree to

    resolve this case on the terms and conditions that follow. This Plea Agteement binds only

    Defendant and the United States Attorney's Office for the District of Minnesota. This

    Agreement does not bind any other United States Attorney's Office or any other federal or

    state agency.

           1.       Charses. Defendant      agrees to plead   guilty to Count 1 of the Superseding

    Indictment. Count   I   charges Defendant with conspiracy to distribute methamphetamine, a

    controlled substance, in violation of Title 21, United States Code, Sections 841(aX1),

    841(bX1XA) and 846. As part of this Plea Agreement, and in consideration for his plea,

    the Government agrees        it will not seek a Second    Superseding Indictment or otherwise

    pursue charging Defendant with additional allegations resulting from its present case or

    investigation. The United States also agrees to dismiss the remaining allegations (as to

    Defendant) at sentencing.




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          2.      Factual Basis. Defendant agrees to the following facts and further agrees

    that, were this matter to go to trial, the United States would prove the following facts

    beyond a reasonable doubt.

          a.      From at least as early as December 2018, and continuing through February

    2019, Defendant was a part     of an agreement with others in the State and District of

    Minnesota, and elsewhere, to distribute methamphetamine. This agreement to distribute

    included his named co-defendants and others. Defendant obtained and delivered

    methamphetamine to customers as part of that understanding. As part of the agreement,

    Defendant also collected funds from the sale of methamphetamine, which in turn were

    provided to his source of supply, co-defendant Matthew Hines.

          b.      For example, on January   17   ,2019, Defendant's co-conspirator Jake Scrabeck

    sold approximately 119 actual grams of methamphetamine to law enforcement during a

    controlled purchase   in   Rochester, Minnesota. Defendant acknowledges that        his   co-

    conspirator Hines, who was also Defendant's source of supply, was Scrabeck's source        of

    supply in January 2019.

          c.      After conducting ongoing surveillance of Defendant and his co-conspirators

    during the subsequent weeks, agents determined that co-defendant Aguine-Rea was co-

    conspirator   Hines' source     of   supply, and that Aguirre-Rea was delivering

    methamphetamine from the Twin Cities to Hines in Rochester, Minnesota. On February 9,

    2019, agents executed a search warrartt for Hines and his home. The search warrant was
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    executed only hours after Aguirre-Rea dropped off a new amount of methamphetamine for

    Hines to distribute. In the interim, Hines contacted several of his methamphetamine

    customers, including named co-defendant Scrabeck as            well as Defendant.     Shortly

    thereafter, Defendant arrived at Hines' home to obtain his supply of methamphetamine

    from Hines, for subsequent distribution.

            d.     As agents began the search warant, Defendant fled from the scene, engaged

    law enforcement in a high speed vehicle pursuit, and agents abandoned that pursuit in the

    interest   of safety. During the   chase three packages   of   methamphetamine (weighing

    approximately 471      O*r:   473 grarns, and 469 garrs, respectively) were thrown from

    Defendant's vehicle. Agents- seized these packages shortly thereafter. Defendant

    acknowledges and stipulates that he possessed and intended to distribute the three packages

    of methamphetamine before they were thrown from his vehicle on February 9,2019.

            e.     Meanwhile, from co-conspirator Hineso home, agents secured various

    effects, including but not limited to two amounts of methamphetamine inside   a   Tupperware

    (amounts of approximately 233 and I24 grams) along with a scale stashed above a rafter

    in the basement; and a quantrty of methamphetamine (approximately 454 grams) inside a

    Milwaukee tool bag. The larger amount of methamphetamine was packaged like the

    packages thrown from Defendant's vehicle.

            f.     Defendant admits and agrees that the items seized on January 17,2019, as

    well   as February   9,2019, were a part of the ongoing agxeement or understanding he had
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    with his named co-defendants and others to distribute methamphetamine in Minnesota.

    Defendant also agrees that he acted voluntarily and knew his actions violated the law.

           3.     Waiver of Pretrial Motions. Defendant understands and agrees that

    Defendant has certain rights to make pre-trial motions in this case. As part of this Plea

    Agreement,   ffid     based upon the concessions           of the United States within this Plea

    Agreement, Defendant knowingly, willingly, and voluntarily gives up the right to pursue

    pre-trial motions in this case. Defendant also understands that by pleading guilty he          will

    waive all rights to   a   trial or appeal on the question of his guilt.

           4.     Statutory Penalties. The Parties agree that Count 1 of the Superseding

    Indictment carries statutory penalties ofi

                  a.          a   maximum of life imprisonment;

                  b.          a   mandatory minimum of 10 years imprisonment;

                  c.          a supervised release   term ofat least 5 years and up to life;

                  d.          a   fine of up to $10,000,000;

                  e.          a   mandatory special assessment of $100;

                  f.          the  assessment to Defendant of             the costs of     prosecution,
                              imprisonment, and supervision; and

                  g.          the possible loss of eligibility for federal benefits.

           5.     Revocation           of   Supervised Release. Defendant understands that           if
    Defendant were        to violate any condition of          supervised release, Defendant could be
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sentenced to an additional term of imprisonment up to the length of the original supervised

release term, subject to the statutory maximums set forth    in   18 U.S.C. S 3583.


       6.     Guideline Calculations. The Parties acknowledge that Defendant will be

sentenced in accordance   with l8 U.S.C.   $ 35510 et   seq. Nothing in this   Plea Agreement

should be construed to limit the Parties from presenting any and all relevant evidence to

the Court at sentencing. The Parties also acknowledge that the Court          will    consider the

United States Sentencing Guidelines in determining the appropriate sentence and stipulate

to the following guideline calculations:

                     Base Offense Level. The Parties agree that pursuant to U.S.S.G.
                     $ 2D1.1, the base offense level for the violation noted in Count I of
                     the Superseding Indictment is calculated using the greater of the
                     following: (1) the offense level corresponding to the weight of the
                     actual amount of methamphetamine contained in the substances noted
                     inparagraph2, above (purity), or (2) the Converted Drug Weight, to
                     include both the seized substances noted above as well as amounts
                     attributable to the methamphetamine distribution conspiracy. This
                     information will be available at the time of sentencing.

                     Therefore, the Parties agree that the base offense level for the violation
                     and the relevant conduct noted inparagraph2, above, is at least 36
                     (based on an amount of actual methamphetamine of at least 1.5
                     kilograms but less than 4.5 kilograms) and could be as high as 38 (if
                     the substances contain at least 90,000 kilograms or more of Converted
                     Drug Weight).

              b.     Specific Offense Characteristics.

                     The Parties agree that no specific offense characteristics apply.

              c.     Chapter 3 Adjustments. The Parties agree that other than as provided
                     for in the paragraphs below, no other Chapter 3 adjustments apply.
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     d.   Reckless Endangerment During Flight. The Parties agree that because
          Defendant created a substantial risk of death or serious bodily injury
          to another person in the course of fleeing from a law enforcement
          officer, an increase of two levels applies. U.S.S.G. $ 3C1.2.

          Acceptance of Responsibility. The Government agrees to recommend
          that Defendant receive a three-level reduction for acceptance of
          responsibility and to make any appropriate motions with the Court.
          However, Defendant understands and agrees                  that    this
          recommendation is conditioned upon the following: (i) Defendant
          testifies truthfully during the change of plea hearing, (ii) Defendant
          cooperates with the Probation Office inthe pre-sentence investigation,
          and   (iii)   Defendant commits   no further acts   inconsistent with
          acceptance of responsibility. U.S.S.G. $ 3E1.1.

     f.   Criminal Historv Category. Based on information available at this
          time, the Parties believe that Defendant's criminal history category
          is fV. This does not constitute a stipulation, but a belief based on an
          assessment of the information currently known. Defendant's actual
          criminal history will be determined by the Court based on the
          information presented in the Presentence Report and by the Parties at
          the time of sentencing.

     o
     b'   Guideline Range. The Parties anticipate the following potential low
          and high Guidelines ranges, based on the relevant conduct noted in
          paragraph2 and any other potential adjustments described above:

          i.     235-293 months (Criminal History Category tV & Adjusted
                 Offense Level 35, with a base offense level 36, a two-level
                 reckles s endangerment enhancement, and three-level reduction
                 for acceptance of responsibility); and

          ii.    292-365 months (Criminal History Category IV & Adjusted
                 Offense Level 37, with a base offense level 38, a two-level
                 reckless endangerment enhancement, and three-level reducti on
                 for acceptance of responsibility)).

          Notwithstandine the potential applicable Guidelines ranges above.
          Defendant acknowledges that he is subject to a statutory minimum
          penalty of a ten-year mandatory sentence as to Count 1.
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              h.      Fine Range. Depending on the adjusted offense level, the fine range
                      is as low as $40,000 up to $10,000,000. (U.S.S.G. $ 5E1 .2(c)).

              i.      Supervised Release. The Sentencing Guidelines require a term             of
                      supervised release ofat least 5 years.

              j.      Sentencing Recommendation and Departures. The Parties reserve
                      the right to make a motion for departures from the applicable
                      Guidelines and to oppose any such motion made by the opposing                 .


                      par$. The Parties reserve the right to argue for a sentence outside
                      the applicable Guidelines.

       7.     Discretion of the     Court.   The foregoing stipulations are binding on the

Parties, but do not bind the   Court. The Parties   understand that the Sentencing Guidelines

are advisory and their application is a matter that falls solely   within the Courtos discretion.

The Court may make its own determination regarding the applicable guideline factors and

the applicable criminal history category. The Court may also depart from the applicable

Guidelines.    If   the Court determines that the applicable guideline calculations or

Defendant's criminal history category are different from that stated above, the Parties may

not withdraw from this Agreement, and Defendant will be sentenced pursuant to the

Court' s determinations.

       8.     Special Assessments. The Guidelines require payment                  of a   special

assessment   in the amount of      $100.00   for each felony count of which Defendant          is

convicted. U.S.S.G. $ 5E1.3. Defendant understands that this $100.00 special assessment

is due and payable at sentencing.

       9.     Waivers of Appeal. Defendant understands that 18 U.S.C. 53742 affords

Defendant the right to appeal the sentence imposed in this case. Acknowledging this right,
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and in exchange for the concessions made by the United States in this Plea Agreement,

Defendant hereby waives all rights conferred by 18 U.S.C. 5 3742 to appeal Defendant's

sentence,   if the Court   imposes a sentence at or below 365 months' imprisonment. The

United States hereby waives all rights conferred by        18   U.S.C.   S   3742 to appeal Defendant's

sentence,   if the Court imposes a sentence at or above I20 months'                   imprisonment. In

addition, Defendant agrees that the guilty plea pursuant to this Agreement is a final

resolution of the issue of   guilt.   Defendant understands that there will not be atnal of any

kind on the issue of guilt and waives the right to appeal any judgment of guilt and

conviction in this matter. Defendant has discussed these rights with Defendant's attorney.

Defendant understands the rights being waived, and Defendant waives these rights

knowingly, intelligently, and voluntarily.

       10.     FOIA Requests. Defendant waives all rights to obtain, directly or through

others, information about the investigation and prosecution of this case under the Freedom

of Information Act and the Privacy Act of 1974,5 U.S.C. $$ 552, 5524.

       11.     Forfeiture. Defendant        agrees to   forfeit to the United States, pursuant to    21


U.S.C. g 853(a), 18 U.S.C. $ 924(dX1) and 28 U.S.C. $ 2461(c), all property constituting,

or derived from proceeds obtained from the offenses, and all property used, in any manner

or part, to commit or to facilitate the commission of the offenses, including but not limited

to the items identified in forfeiture allegations in the Superseding Indictment. Defendant

agrees that the forfeitures may,         at the government's option, be completed through

administrative, civil, or criminal forfeiture proceedings. Defendant waives all statutory and
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constitutional defenses to said forfeiture" and fuither consents to the destruction of the

frearms and any associated ammunition and accessories. The United States reserves the

rigtrt to seek the forfeiture of additional properfy from Defendant.

       12.    Complete Asreement. This, along with any agreement signed by the

Parties before entry of ple4 is the entire agreement and understanding between the United

States and the defendant. There are no other agreements, promises, representations, or

understandings.



                                                  ERICA




                                                  BY: Allen A.   S
                                                  Assistant U.S. Attorney
                                                  Attorney No. 301668




Dated:   8-S'- I q                                %a'a*        tre     nM
                                                  MASON PAUL STUHLDREHER
                                                  Defendant




Dated:    af.ln
                                                  DOMINIQUE J. NAVARRO, ESQ.
                                                  Attornev for Defendant
